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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 BOARD OF REGENTS, THE                                          )
 UNNERSITY OF TEXAS SYSTEM                                      )
 and TISSUEGEN, INC.,                                           )
                                                                )
                                      Plaintiffs,               )               C.A. No. 1: l 8-cv-00392-GBW
                                                                )
                         V.                                     )         C.A. No. l :18-cv-00392-GBW
                                                                )
 BOSTON SCIENTIFIC                                              )
 CORPORATION,                                                   )
                                                                )
                                      Defendant.                )



                                                VERDICT FORM
                                                  (PHASE 2)


       Instructions: When answering the following questions and completing this Verdict Form,

please follow the directions provided and follow the Jury Instructions that you have been given.

Your answer to each question must be unanimous. Some of the questions contain legal terms that

are defined and explained in the Jury Instructions. Please refer to the Jury Instructions if you are

unsure about the meaning or usage of any legal term that appears in the questions below.

       As used herein:

       1.      "UTBOR" refers to Plaintiff The Board of Regents, The University of Texas

               System;

       2.      "TissueGen" refers to Plaintiff TissueGen, Inc.;

       3.      "Boston Scientific" refers to Defendant Boston Scientific Corporation; and

       4.      The '" 296 Patent" refers to U.S . Patent No. 6,596,296.
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QUESTION NO. 1:

Did UTBOR and TissueGen prove by a preponderance of the evidence that Boston Scientific

induced infringement of any of the following claims of the '296 Patent?

       "Yes" is a finding in favor ofUTBOR and TissueGen.

       ''No" is a finding in favor of Boston Scientific.

                                         YES                NO

              Claim 1
                                      '1e5
              Claim 11
                                      '1e5
              Claim 17
                                     tfes
              Claim 26
                                     L/€ 5




                                                 2
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QUESTION NO. 2:

Did UTBOR and TissueGen prove by a preponderance of the evidence that Boston Scientific' s

infringement of any of the claims of the '296 Patent was willful?

       "Yes" is a finding in favor ofUTBOR and TissueGen.

       "No" is a finding in favor of Boston Scientific.


       Yes:   _'{_.e,__::;,__                No: - - - - - - -




                                                3
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QUESTION NO. 3:

What amount of damages have UTBOR and TissueGen proven by a preponderance of the evidence

that they are entitled to as a reasonable royalty for Boston Scientific's infringement of the '296

patent between November 20, 2017 and August 18, 2020?



                Answer: $   4: ~ I ooD      I   OC,l)
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       You have now reached the end of the verdict form and you should review it to ensure that

it entirely reflects your unanimous determinations. The Foreperson should then sign the verdict

form in the space below and notify the Court Security Officer that you have reached a verdict. The

Foreperson should retain possession of the verdict form and bring it to the courtroom with the jury.



       Signed:




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